989 F.2d 492
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jeannie DUNMOYER, Plaintiff-Appellant,v.U. S. POSTMASTER GENERAL, Defendant-Appellee.
    No. 93-1015.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 1, 1993Decided:  March 25, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  John R. Hargrove, District Judge.  (CA-92-3140-HAR)
      Jeannie Dunmoyer, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before WIDENER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Jeannie Dunmoyer appeals from the district court's order dismissing her Title VII case.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Dunmoyer v. Postmaster General, No. CA-92-3140-HAR (D. Md. Nov. 23, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    